                                           Case 19-20002                  Doc 4     Filed 07/25/19           Page 1 of 3


 Fill in this information to identify your case:

 Debtor 1                 John Christopher Baker
                          First Name                        Middle Name               Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name               Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MARYLAND

 Case number
 (if known)                                                                                                                 Check if this is an
                                                                                                                            amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                               12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Oldline Bank                                          Surrender the property.                       No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a          Yes
    Description of 1513 Armacost Road Parkton,                               Reaffirmation Agreement.
    property       MD 21120 Baltimore County                                 Retain the property and [explain]:
    securing debt: Owned with spouse as tennants
                   by the entireties

                           - house is in poor condition
                         and is in need of substantial
                         repair


    Creditor's         SECU                                                  Surrender the property.                       No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a          Yes
    Description of       2012 Honda Civic 60000 miles                        Reaffirmation Agreement.
    property             average condition - needs some                      Retain the property and [explain]:
    securing debt:       mechanical work and tires

                         Debotr is a coowner with son
                         for the purpose of financing -
                         this is son's vehicle

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                             page 1

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
                                           Case 19-20002               Doc 4       Filed 07/25/19           Page 2 of 3


 Debtor 1      John Christopher Baker                                                                 Case number (if known)




    Creditor's     SECU                                                     Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      2013 Hyundai Santa Fe 85000                         Reaffirmation Agreement.
    property            miles                                               Retain the property and [explain]:
    securing debt:



    Creditor's     Select Portfolio Servicing                               Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of 1513 Armacost Road Parkton,                              Reaffirmation Agreement.
    property       MD 21120 Baltimore County                                Retain the property and [explain]:
    securing debt: Owned with spouse as tennants
                   by the entireties

                          - house is in poor condition
                        and is in need of substantial
                        repair

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes



Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                                           Case 19-20002               Doc 4       Filed 07/25/19          Page 3 of 3


 Debtor 1      John Christopher Baker                                                                Case number (if known)


 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ John Christopher Baker                                                   X
       John Christopher Baker                                                           Signature of Debtor 2
       Signature of Debtor 1

       Date        July 25, 2019                                                    Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                     page 3

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
